                   Case 4:12-cr-00306-KGB                       Document 772         Filed 04/01/15        Page 1 of 7
A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet I




                             v.
            RODNEY LYNN SPRADLIN

                                                                         Case No. 4: 12-cr-00306-13 KGB
                                                                         USM No. 27352-009
                                                                          LATRECE E. GRAY
                                                                                               Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           _1_,2_,_3_,_4_an_d_6_ _ _ _ _ ofthe tetm of supervision.
ri/ was found in violation of condition(s)             _5_ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                            Nature of Violation                               Violation Ended
                                  Failure to not commit another federal, state, or local crime.            02/26/2015

2                                 Failure to not unlawfully possess a controlled substance.                02/26/2015

                                  Failure to refrain from any unlawful use of a controlled

                                  substance. Failure to submit to one drug test within 15 days

       The defendant is sentenced as provided in pages 2 through _ _
                                                                   7 __ of this judgment. The sentence is imposed pursuant to
the Sentencing Refotm Act of 1984.
D   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notifv the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 4574                       03/24/2015
                                                                                          Date oflmposition of Judgment

                                                                            ~ ~h /11.{)4 . ~ G.{;V
Defendant's Year of Birth:           1976

City and State of Defendant's Residence:
England, Arkansas
                                                                          Kristine G. Baker                           U.S. District Judge
                                                                                              Name and Title of Judge

                                                                                  tifW. /, ioit?
                                                                                                       Date
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AO 2450   (Rev. 09/11) Judgment in a Criminal Case for Revocat10ns
          Sheet IA

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DEFENDANT: RODNEY LYNN SPRADLIN
CASE NUMBER: 4:12-cr-00306-13 KGB

                                                     ADDITIONAL VIOLATIONS

                                                                                                                     Violation
Violation Number              Nature of Violation                                                                   Concluded
                               of placement on probation and at least two periodic drug tests thereafter, as

                              determined by the court.

3                              Failure to answer truthfully all inquiries by the probation officer and follow the   02/26/2015

                              instructions of the probation officer.

4                              Failure to refrain from excessive use of alcohol and not purchase, possess,          02/26/2015

                              use, distribute, or administer any controlled substance or any paraphernalia

                               related to any controlled substances, except as prescribed by a physician.

5                              Failure to participate, under the guidance and supervision of the U.S.               02/26/2015

                               Probation Office, in a substance abuse treatment program which may include

                              testing, outpatient counseling, and/or residential treatment. Failure to

                               abstain from the use of alcohol throughout the course of treatment and bear

                              the costs of the treatment to the extent he is able, as determined by the

                               probation officer.

6                             Failure to not associate with any person engaged in criminal activity, and not        02/25/2015

                               associate with any person convicted of a felony unless granted permission to

                               do so by the probation officer.
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  AO 2450       (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                 Judgment -    Page   3     of    7
  DEFENDANT: RODNEY LYNN SPRADLIN
  CASE NUMBER: 4:12-cr-00306-13 KGB


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of:
6 months.




     t/ The court makes the following recommendations to the Bureau of Prisons:
The Court recommends that the defendant participate in residential or nonresidential substance abuse treatment and mental
health counseling and treatment during incarceration. The Court further recommends that the defendant be incarcerated in
the Texarkana FCI.

     D The defendant is remanded to the custody of the United States Marshal.

     t/ The defendant shall surrender to the United States Marshal for this district:
        ri/ at 02:00                        D a.m.       ri/ p.m. on _0_4_11_3_12_0_1_5_ _ _ _ _ __
            D     as notified by the United States Marshal.

     D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D     before 2 p.m. on
            D     as notified by the United States Marshal.
            D     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                   to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                             UNITED ST ATES MARSHAL



                                                                              By --------------------~
                                                                                     DEPUTY UNITED STATES MARSHAL
                       Case 4:12-cr-00306-KGB                       Document 772      Filed 04/01/15          Page 4 of 7
  AO 2450       (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 3 - Supervised Release

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  DEFENDANT: RODNEY LYNN SPRADLIN
  CASE NUMBER: 4:12-cr-00306-13 KGB
                                                                SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
1 year.



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
  tests thereafter as determined by the court.
  D       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
  r;/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  'if The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  D       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
          or is a student, as directed by the probation officer. (Check, if applicable.)
  D       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
       . . The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  cond1t1ons on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
   I)         the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)          the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)          the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
              officer;
  4)          the defendant shall support his or her dependents and meet other family responsibilities;
  5)          the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
              or other acceptable reasons;
  6)          the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)          the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
              controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)          the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)          the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
              convicted of a felony, unless granted permission to do so by the probation officer;
   10)        the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
              confiscation of any contraband observed in plain view of the probation officer;
   11)        the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
              enforcement officer;
   12)        th~ defendant shci:ll i:iot enter into any agreement to act as an informer or a special agent of a law enforcement agency
              without the perm1ss1on of the court; and
   13)        as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the
              defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
              notifications and to confirm the defendant's compliance with such notification requirement.
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 AO 2450    (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 3C - Supervised Release
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 DEFENDANT: RODNEY LYNN SPRADLIN
 CASE NUMBER: 4:12-cr-00306-13 KGB

                                             SPECIAL CONDITIONS OF SUPERVISION

The defendant shall participate under the guidance and supervision of the U.S. Probation Office in a substance abuse
treatment program, which may include testing, outpatient counseling and/or residential treatment. The defendant shall
abstain from the use of alcohol throughtout the course of treatment.

The defendant shall participate in a mental health assessment. If the assessment determines further treatment is
necessary, the defendant shall participate in treatment under the guidance and supervision of the probation officer. The
defendant shall bear the cost of his mental health treatment to the extent he is able, as determined by the probation office.
The costs should not exceed $40.00 per month.
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AO 2450    (Rev 09/11) Judgment in a Cnminal Case for Revocations
           Sheet 5 - Cnminal Monetary Penalties
                                                                                                    Judgment - Page       6   of       7
DEFENDANT: RODNEY LYNN SPRADLIN
CASE NUMBER: 4:12-cr-00306-13 KGB
                               CRIMINAL MONETARY PENALTIES

    The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                     Assessment                                           Fine                              Restitution
TOTALS         $ 100.00                                                 $ 0.00                         $ 0.00


D   The detennination ofrestitution is deferred until
    entered after such detennination.
                                                            - - -. An Amended Judgment in a Criminal Case (AO 245C) will be

D   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
    be paid before the United States is paid.

Name of Payee                                      Total Loss*                      Restitution Ordered               Priority or Percentage




TOTALS


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. ~ 3612(t). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     D the interest requirement is waived for the             D fine         D restitution.
     D the interest requirement for the           D    fine         D restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 1 l 3A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 2450     (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 6 - Schedule of Payments

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DEFENDANT: RODNEY LYNN SPRADLIN
CASE NUMBER: 4:12-cr-00306-13 KGB

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    r/ Lump sum payment of$ _1_0_0_._00_____ due immediately, balance due
           D    not later than                                         , or
           D    in accordance with        D    C,     D     D,     D E,or     D F below); or

B    D     Payment to begin immediately (may be combined with                 DC,      D D, or   D F below); or

C    D     Payment in equal             (e.g., weekly, monthly, quarterly) installments of $                     over a period of
          - - - - - (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    D     Payment in equal             (e.g., weekly, monthly, quarterly) installments of $                    over a period of
          - - - - - (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D     Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F    D     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary renalties IS due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federa Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
     corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
